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     KIRKLAND & ELLIS LLP                                     COLE SCHOTZ P.C.
     KIRKLAND & ELLIS INTERNATIONAL LLP                       Michael D. Sirota, Esq.
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                                                              Debtors in Possession

     Co-Counsel to the Debtors and
     Debtors in Possession


                                     UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF NEW JERSEY


 In re:                                                        Chapter 11

 RITE AID CORPORATION, et al.,                                 Case No. 23-18993 (MBK)

                                      Debtors. 1               (Jointly Administered)



                            NOTICE OF REJECTION OF
             CERTAIN EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES

 PARTIES RECEIVING THIS NOTICE SHOULD LOCATE THEIR NAMES AND THEIR
 LEASES ON SCHEDULE 1 ATTACHED TO EXHIBIT 1 TO THIS NOTICE AND READ
 THE CONTENTS OF THIS NOTICE CAREFULLY.




 1     The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
       Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
       website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid. The location of
       Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in these chapter 11
       cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
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         PLEASE TAKE NOTICE that on November 20, 2023, the United States Bankruptcy

 Court for the District of New Jersey (the “Court”) entered an order on the motion (the “Motion”) 2

 of debtors and debtors in possession (the “Debtors”) (i) authorizing and approving procedures to

 reject, assume, or assume and assign executory contracts and unexpired leases and (ii) granting

 related relief [Docket No. 702] (the “Procedures Order”).

         PLEASE TAKE FURTHER NOTICE that, pursuant to the Procedures Order and by this

 written notice (this “Rejection Notice”), the Debtors hereby notify you that they have determined,

 in the exercise of their business judgment, that each Contract set forth on Schedule 1

 (the “Rejection Schedule”) annexed to the proposed form of order attached hereto as Exhibit 1 is

 hereby rejected effective as of the date (the “Rejection Date”) set forth on Schedule 1 or such other

 date to which the Debtors and the counterparty or counterparties to any such Contract agree. For

 unexpired leases, the rejection effective date shall be the later of (a) the proposed effective date set

 forth on the Rejection Notice; and (b) the date the Debtors relinquish control of the premises by

 (1) notifying the affected landlord in writing, with email being sufficient, of the Debtors’ surrender

 of the premises and turning over keys, key codes, and security codes, if any, to the affected landlord

 or (2) notifying the affected landlord in writing, with email being sufficient, that the keys, key

 codes, and security codes, if any, are not available, but that the landlord may rekey the leased

 premises.

         PLEASE TAKE FURTHER NOTICE that parties seeking to object to the proposed

 rejection of any of the Contracts must file and serve a written objection so that such objection is

 filed with the Court on the docket of the Debtors’ chapter 11 cases and is actually received by the

 following parties no later than ten days after the date that the Debtors filed and served this Notice:


 2   Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


                                                         2
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 (a) the Debtors, Rite Aid Corporation, 1200 Intrepid Avenue, 2nd Floor, Philadelphia,

 Pennsylvania 19112; (b) proposed counsel to the Debtors, Kirkland & Ellis LLP, 601 Lexington

 Avenue, New York, New York 10022, Attn: Joshua A. Sussberg, P.C., Aparna Yenamandra, P.C.,

 Ross J. Fiedler, and Zachary R. Manning; (c) proposed co-counsel to the Debtors, Cole Schotz

 P.C., Court Plaza North, 25 Main Street; Hackensack, New Jersey 07601, Attn: Michael D. Sirota,

 Felice R. Yudkin, and Seth Van Aalten; (d) the applicable Rejection Counterparty; (e) counsel to

 the Ad Hoc Secured Noteholder Group, Paul, Weiss, Rifkind, Wharton & Garrison LLP, 1285

 Avenue of the Americas, New York, New York 1001 Attn.:                   Andrew N. Rosenberg

 (arosenberg@paulweiss.com), Brian S. Hermann (bhermann@paulweiss.com) and Christopher

 Hopkins (chopkins@paulweiss.com); (f) counsel to the Ad Hoc Secured Noteholder Group, Fox

 Rothschild LLP, 49 Market Street, Morristown, New Jersey, 07960, Attn: Howard A. Cohen

 (hcohen@foxrothschild.com); Joseph J. DiPasquale (jdipasquale@foxrothschild.com) and

 Michael R. Herz (mherz@foxrothschild.com); (g) counsel to the DIP Agents, Choate, Hall &

 Stewart LLP, Two International Place, Boston, MA 02110, Attn:                   John F. Ventola

 (jventola@choate.com); Jonathan D. Marshall (jmarshall@choate.com); and Mark D. Silva

 (msilva@choate.com) and Greenberg Traurig, LLP, 500 Campus Drive, Suite 400, Florham Park,

 New Jersey 07932, Attn:        Alan J. Brody (brodya@gtlaw.com) and Oscar N. Pinkas

 (pinkaso@gtlaw.com) (h) the Office of the United States Trustee for the District of New Jersey,

 One Newark Center, 1085 Raymond Boulevard, suite 2100, Newark, New Jersey 07102, Attn:

 Jeffrey    M.      Sponder      (jeffrey.m.sponder@usdoj.gov)      and      Lauren        Bielskie

 (lauren.bielskie@usdoj.gov); and (i) counsel to the Official Committee of Unsecured Creditors,

 Kramer Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, New York

 10036,    Attn:      Adam      Rogoff    (ARogoff@kramerlevin.com)        and     Nancy     Bello


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 (nbello@kramerlevin.com) and Kelley Drye & Warren LLP, One Jefferson Road, 2nd Floor,

 Parsippany, NJ 07054, Attn:             Robert LeHane (rlehane@kelleydrye.com) and Connie Choe

 (cchoe@kelleydrye.com); (j) proposed counsel to the Official Committee of Tort Claimants, Akin

 Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, New York 10036, Attn: Arik

 Preis (apreis@akingump.com), Mitchell P. Hurley (mhurley@akingump.com), Kate Doorley

 (kdoorley@akingump.com), Theodore James Salwen (jsalwen@akingump.com), and Brooks

 Barker (bbarker@akingump.com); and (k) Sherman, Silverstein, Kohl, Rose & Podolsky, P.A.,

 457 Haddonfield Rd. #300, Cherry Hill, NJ 08002, Attn;                                   Arthur J. Abramowitz

 (aabramowitz@shermansilverstein.com) and Ross Switkes (rswitkes@shermansilverstein.com).

         PLEASE TAKE FURTHER NOTICE that, absent an objection being timely filed, the

 Debtors shall file a Rejection Order under a certificate of no objection. The rejection of each

 Contract listed in this Rejection Notice shall become effective on the applicable Rejection Date

 set forth on Schedule 1 or such other date to which the Debtors and the counterparty or

 counterparties to such Contract agree. 3

         PLEASE TAKE FURTHER NOTICE that, if an objection to the rejection of any

 Contract is timely filed and not withdrawn or resolved, the Debtors shall file a notice for a hearing

 to consider the objection for the Contract or Contracts to which such objection relates. If such

 objection is overruled or withdrawn, such Contract will only be deemed rejected upon entry by the

 Court of a consensual form of Rejection Order resolving the objection as between the objecting

 party and the Debtors or, if resolution is not reached and/or the objection is not withdrawn, upon



 3   An objection to the rejection of any particular Contract listed in this Rejection Notice shall not constitute an
     objection to the rejection of any other contract or lease listed in this Rejection Notice. Any objection to the
     rejection of any particular Contract listed in this Rejection must state with specificity the Contract to which it is
     directed. For each particular Contract whose rejection is not timely or properly objected to, such rejection will
     be effective in accordance with this Rejection Notice and the Order.


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 further order of the Court and shall be rejected as of the applicable Rejection Date set forth in the

 Rejection Notice or such other date to which the Debtors and the applicable Rejection

 Counterparty agree, or as ordered by the Court.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the Procedures

 Order, if the Debtors have deposited monies with a Contract counterparty as a security deposit or

 other arrangement, the Contract counterparty may not set off or recoup or otherwise use such

 monies without further order of the Court, unless the Debtors and the counterparty or

 counterparties to such Contracts otherwise agree.

        PLEASE TAKE FURTHER NOTICE that, absent timely objection, any personal

 property of the Debtors that is listed and described on Schedule 1 shall be deemed abandoned as

 of the Rejection Date. With respect to unexpired leases, on the Rejection Date landlords may, in

 their sole discretion and without further notice or order of the Court, utilize and/or dispose of such

 property without notice or liability to the Debtors or third parties and, to the extent applicable, the

 automatic stay will be modified to allow such disposition.

        PLEASE TAKE FURTHER NOTICE that, to the extent you wish to assert a claim with

 respect to rejection of your Contract or Contracts, you must do so on or before the later of

 (a) the deadline for filing proofs of claim established in these chapter 11 cases, if any, and,

 (b) thirty days after the later of (A) the date of entry of the Rejection Order approving rejection of

 the applicable Contract, and (b) the Rejection Date. IF YOU FAIL TO TIMELY SUBMIT A

 PROOF OF CLAIM IN THE APPROPRIATE FORM BY THE DEADLINE SET FORTH

 HEREIN, YOU WILL BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM

 (1) ASSERTING SUCH CLAIM AGAINST ANY OF THE DEBTORS AND THEIR CHAPTER

 11 ESTATES, (2) VOTING ON ANY CHAPTER 11 PLAN OF REORGANIZATION FILED IN


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 THESE CASES ON ACCOUNT OF SUCH CLAIM, AND (3) PARTICIPATING IN ANY

 DISTRIBUTION IN THE DEBTORS’ CHAPTER 11 CASES ON ACCOUNT OF SUCH

 CLAIM.

                      [Remainder of page intentionally left blank]




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Dated: April 26, 2024
                                         /s/ Michael D. Sirota
                                         COLE SCHOTZ P.C.
                                         Michael D. Sirota, Esq.
                                         Warren A. Usatine, Esq.
                                         Felice R. Yudkin, Esq.
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                                         Debtors in Possession
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                                    Exhibit 1

                            Proposed Rejection Order
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 Caption in Compliance with D.N.J. LBR 9004-1(b)
     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     In re:                                                             Chapter 11

     RITE AID CORPORATION, et al.,                                      Case No. 23-18993 (MBK)

                                        Debtors. 1                      (Jointly Administered)



             THIRTEENTH ORDER APPROVING THE REJECTION
         OF CERTAIN EXECUTORY CONTRACTS AND/OR UNEXPIRED
 LEASES AND THE ABANDONMENT OF CERTAIN PERSONAL PROPERTY, IF ANY

              The relief set forth on the following pages, numbered three (3) through five (5), is

 ORDERED.




 1      The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of the
        Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid. The location of
        Debtor Rite Aid Corporation’s principal place of business and the Debtors’ service address in these chapter 11
        cases is 1200 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
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 Caption in Compliance with D.N.J. LBR 9004-1(b)
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 Debtors:             RITE AID CORPORATION, et al.
 Case No.             23-18993 (MBK)
 Caption of Order:    Thirteenth Order Approving the Rejection of Certain Executory Contracts
                      and/or Unexpired Leases and the Abandonment of Certain Personal
                      Property, If Any
         Upon the Order (I) Authorizing and Approving Procedures to Reject or Assume Executory

 Contracts and Unexpired Leases and (II) Granting Related Relief (the “Procedures Order”) 1

 [Docket No. 702] of the above-captioned debtors and debtors in possession (collectively,

 the “Debtors”); and the Court having jurisdiction over this matter and the relief requested therein

 pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference to the Bankruptcy

 Court Under Title 11 of the United States District Court for the District of New Jersey, entered

 July 23, 1984, and amended on September 18, 2012 (Simandle, C.J.); and this Court having found

 that venue of this proceeding and the matter in this district is proper pursuant to 28 U.S.C. §§ 1408

 and 1409; and the Debtors having properly filed and served a Rejection Notice on each applicable

 party as set forth in the Rejection Schedule, attached hereto as Schedule 1, in accordance with the

 terms of the Procedures Order; and no timely objections having been filed to the Rejection of such

 Contracts; and due and proper notice of the Procedures Order and the Rejection Notice having

 been provided to each applicable Rejection Counterparty as set forth in the Rejection Schedule

 and it appearing that no other notice need be provided; and after due deliberation and sufficient

 cause appearing therefor, IT IS HEREBY ORDERED THAT:

         1.       The Contracts listed on the Rejection Schedule attached hereto as Schedule 1 are

 rejected under section 365 of the Bankruptcy Code effective as of the later of the Rejection Date

 listed on Schedule 1 or such other date as the Debtors and the applicable Rejection Counterparty

 agrees; provided, that the Rejection Date for a rejection of a lease of nonresidential real property

 shall not occur until the later of (i) the Rejection Date set forth on Schedule 1 and (ii) the date the



 1   Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Procedures Order.



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 Debtors:              RITE AID CORPORATION, et al.
 Case No.              23-18993 (MBK)
 Caption of Order:     Thirteenth Order Approving the Rejection of Certain Executory Contracts
                       and/or Unexpired Leases and the Abandonment of Certain Personal
                       Property, If Any
 Debtors relinquish control of the premises by (A) notifying the affected landlord in writing, with

 email being sufficient, of the Debtors’ surrender of the premises and turning over keys, key codes,

 and security codes, if any, to the affected landlord or (B) notifying the affected landlord in writing,

 with email being sufficient, of the Debtors’ surrender of the premises that the keys, key codes, and

 security codes, if any, are not available, but the landlord may rekey the leased premises.

         2.      The Debtors are authorized, but not directed, at any time on or before the applicable

 Rejection Date, to remove or abandon any of the Debtors’ personal property that may be located

 on the Debtors’ leased premises that are subject to a rejected Contract; provided, however, that

 (i) nothing shall modify any requirement under applicable law with respect to the removal of any

 hazardous materials as defined under the applicable law from any of the Debtors’ leased premises,

 (ii) to the extent the Debtors seek to abandon personal property that contains “personally

 identifiable information,” as that term is defined in section 101(41A) of the Bankruptcy Code

 (the “PII”), the Debtors shall remove the PII from such personal property before abandonment,

 and (iii) the Debtors shall not abandon any medications or medicines. The property will be deemed

 abandoned pursuant to section 554 of the Bankruptcy Code, as is, effective as of the Rejection

 Date. For the avoidance of doubt, and absent any sustained objection as it relates to property at a

 particular premises, any and all property located on the Debtors’ leased premises on the Rejection

 Date of the applicable lease of nonresidential real property shall be deemed abandoned pursuant

 to section 554 of the Bankruptcy Code, as is, effective as of the Rejection Date. Landlords may,

 in their sole discretion and without further notice or order of this Court, utilize and/or dispose of

 such property without notice or liability to the Debtors or third parties and, to the extent applicable,

 the automatic stay is modified to allow such disposition.


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 Debtors:             RITE AID CORPORATION, et al.
 Case No.             23-18993 (MBK)
 Caption of Order:    Thirteenth Order Approving the Rejection of Certain Executory Contracts
                      and/or Unexpired Leases and the Abandonment of Certain Personal
                      Property, If Any
        3.      Notwithstanding the foregoing, the Debtors’ abandonment of their interests in any

 equipment or other Personal Property belonging to PepsiCo, Inc. its affiliates, or affiliated bottlers

 (collectively, the “Pepsi Entities”) shall not sever or otherwise impact any ownership interest of

 the Pepsi Entities in any equipment or Personal Property being abandoned.

        4.      Claims arising out of the rejection of Contracts, if any, must be filed on or before

 the later of (i) the deadline for filing proofs of claim established in these chapter 11 cases, if any,

 and (ii) thirty days after the later of (A) the date of entry of this Order approving rejection of the

 applicable Contract, and (b) the Rejection Date. If no proof of claim is timely filed, such claimant

 shall be forever barred from asserting a claim for damages arising from the rejection and from

 participating in any distributions on such a claim that may be made in connection with these

 chapter 11 cases.

        5.      The Debtors are authorized to take all actions necessary to effectuate the relief

 granted in this Order and the rejection without further order from this Court.

        6.      This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.




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                                                                           Schedule 1

                                                                     Rejected Contracts 1




1   For the avoidance of doubt, the Contracts referenced herein include any ancillary documents, including guaranties or assignments thereof, and any amendments,
    modifications, subleases, or termination agreements related thereto. The inclusion of a Contract on this list does not constitute an admission as to the executory
    or non-executory nature of the Contract, or as to the existence or validity of any claims held by the counterparty or counterparties to such Contract.
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                                                                                          Store
                                                                                                                              Rejection
              Non-Debtor             Counterparty          Contract                        or                                                 Abandoned Personal
No.                                                                      Debtor Party                 Location Address        Effective
             Counterparty              Address            Description                    Surplus                                                   Property
                                                                                                                                Date
                                                                                            #
                                 39533 WOODWARD
                                                                         RITE AID OF                4612 WOODWARD
          GARFIELD               AVE., #310,             UNEXPIRED                                                                          MISCELLANEOUS FF&E
1                                                                        MICHIGAN,         4595     AVENUE, DETROIT,          4/30/2024
          BUILDING, L.L.C.       BLOOMFIELD HILLS,         LEASE                                                                           AND/OR RETAIL FIXTURES
                                                                             INC.                   MI 48201
                                 MI 48304
                                 9576 CRABAPPLE                                                     1081 MOUNT
                                                         UNEXPIRED       RITE AID OF                                                        MISCELLANEOUS FF&E
2         VISHWAJEET PURI        CT, PLAIN CITY, OH                                        256      VERNON AVENUE,            4/30/2024
                                                           LEASE          OHIO, INC.                                                       AND/OR RETAIL FIXTURES
                                 43064                                                              MARION, OH 43302
                                 15350 SW SEQUOIA
                                                                          THRIFTY
          PACIFIC REALTY         PARKWAY, SUITE          UNEXPIRED                                  1670 GARNET AVE,                        MISCELLANEOUS FF&E
3                                                                         PAYLESS,         6795                               4/30/2024
          ASSOCIATES, L.P.       300, PORTLAND, OR         LEASE                                    SAN DIEGO, CA 92109                    AND/OR RETAIL FIXTURES
                                                                            INC.
                                 97224
                                                                                                    366 GEORGE
                                 50 TICE BLVD, STE                        RITE AID OF
          SHADRALL NEW                                   UNEXPIRED                                  STREET, NEW                             MISCELLANEOUS FF&E
4                                320, WOODCLIFF                              NEW           407                                4/30/2024
          BRUNSWICK LP                                     LEASE                                    BRUNSWICK, NJ                          AND/OR RETAIL FIXTURES
                                 LAKE, NJ 07677                          JERSEY, INC.
                                                                                                    08901
                                 1201 N MAGNOLIA                          THRIFTY                   9715 OTIS STREET,
          LOS ALTOS XXXIII                               UNEXPIRED                                                                          MISCELLANEOUS FF&E
5                                AVE ANAHEIM, CA                          PAYLESS,         5484     SOUTHGATE, CA             4/30/2024
          LP                                               LEASE                                                                           AND/OR RETAIL FIXTURES
                                 92618                                      INC.                    90280
                                                                                                    29555 S.W. BOONES
          29555 SW BOONES        3347 MICHELSON                           THRIFTY
                                                         UNEXPIRED                                  FERRY ROAD,                             MISCELLANEOUS FF&E
6                                DR, STE 200,                             PAYLESS,          80                                4/30/2024
          FERRY ROAD, LLC 1      IRVINE, CA 92612
                                                           LEASE
                                                                            INC.
                                                                                                    WILSONVILLE, OR                        AND/OR RETAIL FIXTURES
                                                                                                    97070




      1     The Debtors originally noticed this Contract for rejection on January 29, 2024 [Docket No. 1644]. A determination on the rejection of this Contract was
            subsequently adjourned pursuant to the Amended Ninth Order Approving the Rejection of Certain Executory Contracts and/or Unexpired Leases and the
            Abandonment of Certain Personal Property, If Any [Docket No. 2069]. Out of an abundance of caution, the Debtors have re-scheduled this Contract herein
            to effectuate rejection as of the Rejection Date.
